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         SD 	                            IN THE UNITED STATES DISTRICT COURT

                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA 


              UNITED STATES OF AMERICA 	                             CRIMINAL NO.:       09-   CA-   '1# /. .- /iJ
                                v. 	
                                                   ~/L~:             DATE FILED: November 24,2009

              HASSAN HODROJ
              DIB HANI HARB
                                          NOji 24
                                     /I,f~O!tA.' 2009
                                                            'Q       VIOLATIONS: 

                                                                     18 U.S.c. § 2339B (conspiring/attempting 

              HASAN ANTAR KARAii...vrrJltlt.trlJ         :           to provide material support to a Foreign 

              MOUSSA ALI HAMDAN ~O~ Clelk                            Terrorist Organization - 3 counts) 

              HAMZE EL-NAJJAR,                    . Cler,t           18 U.S.c. § 371 (conspiracy - 6 counts) 

                   a/kla "Hamze AI-Najjar,"                          18 U.S.C. § 473 (dealing in counterfeit
              MOUSTAFA HABIB KASSEM                                  obligations or securities - 1 count)
              LATIF KAMEL HAZIME,                                    18 U.S.C. § 1543 (passport fraud - 1 count)
                   alkla "Adanan," 	                                 18 U.S.c. § 2314 (transportation of stolen
              ALAA ALLIA AHMED MOHAMED,                              goods - 10 counts)
                   alkla "Alaa Ahmed Mohamed                         18 U.S.c. § 2320 (trafficking in counterfeit
                   Abouelnagaa,"                                     goods - 8 counts)
              MAODOKANE 	                                            18 U.S.c. § 1001 (false statements to
              MICHAEL KATZ 	                                         government officials - 2 counts)
                                                                     18 U.S.C. § 2 (aiding and abetting;
                                                                     causing)
                                                                     Notice of forfeiture

                                                         INDICTMENT

                                                          COUNT ONE

                                       (Conspiring to Provide Material Support to Hizballah)

              THE GRAND JURY CHARGES THAT:

                               From in or about June 2009 through and including in or about November 2009, in

              the Eastern District of Pennsylvania and elsewhere, defendants

                                                       HASSAN HODROJ 

                                                             and 

                                                        DIB HANI HARB 


              conspired and agreed with others known and unknown to the grand jury to commit offenses against

              the United States, that is, to provide "material support or resources," as that term is defined in 18
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U.S.C. § 2339A(b), including weapons, to a Foreign Terrorist Organization, that is, Hizballah, which

was designated by the Secretary ofState as a Foreign Terrorist Organization, pursuant to Section 219

ofthe Immigration and Nationality Act, on or about October 7, 1997, and has remained so designated

since that time.

                                         OVERT ACTS

               In furtherance of this conspiracy, defendants HASSAN HODROJ and DIB HANI

HARB, and others known and unknown to the grand jury committed the following overt acts, among

others, in the Eastern District of Pennsylvania and elsewhere:

                   1.   On or about June 13, 2009, defendant DIB HANI HARB instructed a

cooperating witness (the "CW") to send him a photograph via electronic mail depicting firearms that

the CW could obtain for Hizballah.

                   2.   On or about June 20, 2009, defendant DIB HANI HARB escorted the CW to

a meeting with a Hizballah official ("Hizballah Official # 1"), in which they discussed a proposed

sale of firearms for Hizballah.

                   3.   On or about June 23, 2009, defendants HASSAN HODROJ and DIB HANI

HARB met with the CW and agreed to purchase approximately 1,200 Colt M-4 Carbines at a price

of approximately $1,800 per machinegun, and defendant HODROJ instructed the CW to export the

machine guns in small shipments from the United States to the Port of Latakia, Syria.

                   4.   On or about August 5, 2009, defendant DIB HANI HARB sent a text message

to the CW stating that Hizballah Official # 1 called from Iran and emphasized the need for quick

delivery of the machineguns.




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                    5.      On or about August 30, 2009, defendant HASSAN HODROJ spoke with the

     CW via telephone about the proposed sale ofmachineguns for the benefit ofHizballah and the need

     for caution in executing this important transaction.

                    All in violation of Title 18, United States Code, Section 2339B.




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                                        COUNT TWO

                   (Attempting to Provide Material Support to Hizballab)

THE GRAND JURY FURTHER CHARGES THAT:

       1.      Overt Acts One through Five of Count One of this Indictment are realleged here.

       2.      From in or about June 2009 through and including in or about November 2009, in the

Eastern District of Pennsylvania and elsewhere, defendants

                                      HASSAN HODROJ
                                            and
                                       DIB HANI HARB

attempted, and aided and abetted and willfully caused another, to provide "material support or

resources," as that term is defined in 18 U.S.C. § 2339A(b), including weapons, to a Foreign

Terrorist Organization, that is, Hizballah, which was designated by the Secretary of State as a

Foreign Terrorist Organization, pursuant to Section 219 of the Immigration and Nationality Act, on

or about October 7, 1997, and has remained so designated since that time.

               In violation of Title 18, United States Code, Sections 2339B and 2.
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                                          COUNT THREE
                        (Conspiring to Provide Material Support to Hizballab)

THE GRAND JURY FURTHER CHARGES THAT: 


               From in or about July 2008 through and including in or about November 2009, in the

Eastern District of Pennsylvania and elsewhere, defendants

                                      DIB HANI HARB, 

                                  HASAN ANTAR KARAKI, and 

                                    MOUSSA ALI HAMDAN 


conspired and agreed with others known and unknown to the grand jury to commit offenses against

the United States, that is, to provide "material support or resources," as that term is defined in 18

U.S.C. § 2339A(b), including false documentation and identification and currency and monetary

instruments and financial securities, to a Foreign Terrorist Organization, that is, Hizballah, which

was designated by the Secretary ofState as a Foreign Terrorist Organization, pursuant to Section 219

ofthe Immigration and Nationality Act, on or about October 7, 1997, and has remained so designated

since that time.

                                           OVERT ACTS
               In furtherance of this conspiracy, defendants DIB HANI HARB, HASAN ANTAR

KARAKI, MOUSSA ALI HAMDAN, and others known and unknown to the grand jury committed

the following overt acts, among others, in the Eastern District of Pennsylvania and elsewhere:

                   1.     On or about September 18,2008, defendant DIB HANT HARB met with a

cooperating witness (the "CW") and stated that the Islamic Republic of Iran manufactured high-

quality counterfeit U. S. currency for the benefit ofHizballah and that, consequently, representatives

of Hizballah would need to approve the sale of this type of counterfeit currency.


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                2.    On or about November 25, 2008, defendant MOUSSA ALI HAMDAN met

with the CW in Philadelphia to discuss the sale of counterfeit United States currency.

                3.    On or about December 3,2008, defendant DIB HANI HARB told the CW via

telephone that stolen United States currency had been packaged inside wedding albums and would

be mailed the following day to the CW in Philadelphia.

                4.    On or about February 14,2009, defendant HASAN ANTAR KARAKI told

the CW that the stolen United States currency offered for sale could not be used in Lebanon because

it was "blood money" that Hizballah received from Iran.

                5.    On or about February 24,2009, defendant HASAN ANTAR KARAKI caused

his assistant ("Individual A") to deliver a sample counterfeit 200-Euro and 100-United-States-dollar

notes to the CW.

                6.     On or about April 25, 2009, defendant DIB HANI HARB met with the CW

in Florida to negotiate, among other things, the sale of stolen United States currency, which

defendant HARB explained had been acquired in the course of robberies conducted by Hizballah's

supporters and then subsequently smuggled into Lebanon for sale as a fund-raising tool for

Hizballah.

                7.     On or about April 25, 2009, defendant DIB HANI HARB met with the CW

in Florida and told the CW, among other things, that Hizballah's representatives worked 18 to 20

hours a day counterfeiting many currencies, including those of the United States, Kuwait, Saudi

Arabia, and the European Union.

                8.     On or about May 8, 2009, defendant HASAN ANTAR KARAKI instructed

the CW via telephone to send photographs for use in fraudulent passports to his home address and


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to send the corresponding biographical information for each passport to defendant D IB HANI HARB

via facsimile.

                 9.     On or about June 29, 2009, defendants DIB HANI HARB and HASAN

ANTAR KARAKI caused to be delivered to the CW in Philadelphia two fraudulent passports - one

from the United Kingdom and one from Canada -          containing the photographs and biographical

information that the CW had earlier supplied to the defendants.

                 10.    On or about September 3, 2009, defendant DIB HANI HARB confirmed to

the CW via telephone that he had mailed a package that the CW received in Philadelphia that same

day containing approximately $9,200 counterfeit U.S. currency hidden inside a photo album.

                 All in violation of Title 18, United States Code, Section 2339B.




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                                                  COUNT FOUR

                        (Conspiracy to Transport Weapons in Interstate Commerce)

        THE GRAND JURY FURTHER CHARGES THAT:

                       1.       From in or about June 2009 through and including in or about November

        2009, in the Eastern District of Pennsylvania and elsewhere, defendants

                                                HASSAN HODROJ 

                                                      and 

                                                 DIB HANI HARB 


        conspired and agreed with others known and unknown to the grand jury to commit offenses against

        the United States, that is, for a person who was not a licensed importer, licensed manufacturer,

        licensed dealer, and licensed collector to transport in interstate or foreign commerce machineguns

        (as defined in section 5845 ofthe Internal Revenue Code of 1986), that is, approximately 1,200 Colt

        M-4 Carbines, in violation of Title 18, United States Code, Sections 922(a)(4).

                       2.       Overt Acts One through Five of Count One of this Indictment are realleged

        here.

                            All in violation of Title 18, United States Code, Section 371.




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                                            COUNT FIVE 


                 (Conspiracy to Deal in Counterfeit Obligations or Securities) 


THE GRAND JURY FURTHER CHARGES THAT: 


                1.        From in or about August 2008 through and including in or about November

2009, in the Eastern District of Pennsylvania and elsewhere, defendants

                                       DIB HANI HARB,
                                   HASAN ANTAR KARAKI, and
                                     MOUSSA ALI HAMDAN

conspired and agreed with others known and unknown to the grand jury to commit offenses against

the United States, that is, to sell, exchange, transfer, receive, and deliver false, forged, counterfeited,

and altered obligations and other securities ofthe United States, that is, United States currency, with

the intent that the same be passed, published, and used as true and genuine, in violation of Title 18,

United States Code, Section 473.

                2.        Overt Acts One, Two, Five, Seven, and Ten ofCount Three ofthis Indictment

are realleged here.

                      All in violation of Title 18, United States Code, Section 371.




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                                           COUNT SIX

                       (Dealing in Counterfeit Obligations or Securities)

THE GRAND JURY FURTHER CHARGES THAT:

               From in or about August 2008 through and including in or about November 2009, in

the Eastern District of Pennsylvania and elsewhere, defendants

                                     DIB HANI HARB, 

                                 HASAN ANT AR KARAKI, and 

                                   MOUSSA ALI HAMDAN 


sold, exchanged, transferred, received, and delivered, and aided and abetted and willfully caused the

same, false, forged, counterfeited, and altered obligations and other securities of the United States,

that is, approximately $9,800 in 100-United-States-dollar bills, with the intent that the same be

passed, published, and used as true and genuine.

                 In violation of Title 18, United States Code, Sections 473 and 2.




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